86 F.3d 1153
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Jimmy Wayne MARTIN, Defendant-Appellant.
    No. 95-7288.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan.23, 1996.Decided May 20, 1996.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.   N. Carlton Tilley, Jr., District Judge.  (CR-91-239;  CA-94-582-2)
      Jimmy Wayne Martin, Appellant Pro Se.  Paul Alexander Weinman, Assistant United States Attorney, Greensboro, North Carolina, for Appellee.
      M.D.N.C.
      AFFIRMED.
      Before WILKINSON, Chief Judge, WIDENER, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.   We affirm substantially on the reasoning of the district court.   United States v. Martin, Nos.  CR-91-239;  CA-94-582-2 (M.D.N.C. July 31, 1995).
    
    
      2
      We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      AFFIRMED.
    
    